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NDEOINITAL
ORIGINAL JUDGE GARDEPHE

UNTTED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

 

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UNITED STATES OF AMERICA
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GAL LUFT, Bu
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BACKGROUND .
1. For years, GAL LUFT, the defendant, a dual U.S.-

Israeli citizen, and others known and unknown, engaged in
multiple international criminal schemes, including a scheme to
act within the United States to advance the interests of the
People’s Republic of China (“China”) as agents of China-based
principals, without registering as foreign agents as required
under U.S. law. Specifically, LUFT agreed with others to and
did: (1) covertiy recruit and pay, on behalf of principals based
in China, a former high-ranking U.S. Government official,
including while the former official was an adviser to the then-
President-elect, to publicly support certain policies with
respect to China without LUFT or the former official filing a
registration statement as an agent of a foreign principal with
the Attorney General of the United States, in violation of the
Foreign Agents Registration Act; (2) broker and attempt to

broker multiple illicit weapons deals, in violation of the Arms

    

 

 
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Export Control Act, and subsequently lied to U.S. law
enforcement agents about that conduct; and (3) broker and
attempt to broker deals for Iranian oil, without authorization,
in violation of U.S. sanctions against Iran and the
International Emergency Economic Powers Act, and subsequently
jied to U.S. law enforcement agents about that conduct.
SUMMARY OF CERTAIN RELEVANT INDIVIDUALS AND ENTITIES
GAL LUFT and the Think Tank

2. GAL LUFT, the defendant, was born in Israel and became
a naturalized United States citizen ‘in’ or about 2004. At all
times relevant to this Indictment, LUFT, .who has a PhD in
strategic studies from a U.S. university in Maryland, served as
the co-director of a Maryland-based non-profit think tank (the -
“Think Tank”), which described global energy security as its
focus. From approximately 1998 until in or about November 2017,
LUFT principally resided in Maryland, and traveled
internationally, including to China, for speeches, conferences,
and meetings. Since the arrest of an associate (“CC-1%) on
different U.S. charges in mid-November 2017, LUFT has remained

outside the United States.

 

 
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Individual-1 and the Energy Group

3. At all times relevant to this Indictment, the Think
Tank organized and managed what it referred to as “projects,”
including a project involving a group of individuals who formed
what the Think Tank described as a “cabinet level extra-
governmental advisory committee” focused on diminishing the
strategic importance of oil to the United States (the “Energy
Group”).

A, A former senior U.S. government official (“Individual-
1”) co-founded the Energy Group, of which GAL LUFT, the
defendant, served as a senior adviser during all times relevant
to this Indictment.

CC-1 and China Energy Fund Committee

5. At all times relevant to this Indictment, CC-l, a
Chinese national who formerly served as the Secretary for Home
Affairs of Hong Kong, was the head of China Energy Fund
Committee (“CEFC”}, a non-governmental organization based in
Hong Kong and Virginia which had “special consultative status”
with the United Nations. CEFC was funded by a Chinese oii and
gas conglomerate, CEFC China Energy Company Limited (“CEFC

China”). CC-l was, at all relevant times, principally based in

 

 
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Hong Kong, though traveled frequently to the United States,
particularly to New York, New York, and Washington, DC.

6. In or about summer 2015, CC-1 offered GAL LUFT, the
defendant, annual payments of $350,000 from CEFC to the Think
Tank. In return for this annual payment, CC-1 and LUFT agreed
that (1) the Think Tank and CEFC would jointly host an
international meeting in a major United States city on energy
security issues; (2) the then-chairman of CEFC China would get
an honorary position with the Energy Group, and (3) a member of

the Energy Group would become a senior advisor to CEFC.

7. In or about December 2015, CEFC sent the Think Tank
$350,000.
8. Just over a year later, in or about January 2017, CEFC

China sent the Think Tank $350,000.

9. Starting in or about 2015, and continuing into in or
about November 2017, the Think Tank and CEFC co-sponsored or
jointly held multiple conferences, including one in June 2017 in
Beijing, China, at which both GAL LUFT, the defendant, and CC-1
spoke. In or about the same time period, LUFT described himself

in publications he wrote as a senior adviser to CEFC.

 

 
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CC-2 and the Chinese Defense Company

10. At all times relevant to this Indictment, a certain
individual (*CC-2") served as the president of a Hong Kong
company (“CC-2's Company”) that was described as being “in the
fields of infrastructure, energy, defense and logistics,” and
worked as an agent or representative of a particular Chinese
defense company (the “Chinese Defense Company”), for which CC-2
formerly served as an executive. GAL LUFT, the defendant, told
CcC-2 in an April 2015 email that “I really enjoyed meeting you.
I’m sure we can have a iot of fun while making $$.”

OVERVIEW OF THE SCHEMES

 

ll. As described in more detail below, GAL LUFT, the
defendant, agreed with CC-1 to act on behaif of foreign
principals, including CC-1 and CEFC, while CC-1 and CEFC
provided or arranged for funds to be provided to or for. the
benefit of LUFT. Among other things, LUFT agreed to work on
behalf of CC-1, CEFC, and CEFC China, persons and entities
outside of the United States, to recruit and “educate”
Individual~1 so that Individual-1 would make public statements,
at the request of LUFT and CC-1, which were in the interest of
China, such as through a written “interview” between CC-1 and

Individual-1 in which LUFT drafted Individual~-i’s responses and

 

 
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included information that was favorable to China, which
“interview” CC-1 then transmitted to multiple persons in the
United States.

12. Furthermore, as described in more detail below, GAL
LUFT, the defendant, agreed and attempted to broker arms
transactions with CC-1, other Chinese individuals and entities,
and others, including illicit weapons deals involving Libya, the
United Arab Emirates, and Kenya. In his role as a broker or
middleman, LUFT worked to find both buyers and sellers of
weapons and other materials constituting “defense articles” on
the United States Munitions List, without a license to do so, in
violation of the Arms Export Control Act. Among other things,
LUFT traveled to meetings and received and passed on
documentation (such as an end-user agreement) needed to secure
the deals. In this role as a broker for illicit arms deals, -
LUFT worked on a commission basis.

13. Additionally, as described in more detail below, GAL
LUFT, the defendant, agreed and attempted to broker deals for
Iranian oii--which he directed an associate to refer to as
“Brazilian” oil instead. In his role as a broker or middleman,
LUFT solicited buyers and passed on pricing and other

information. He also assisted in setting up meetings between

 
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Iranian representatives and CEFC China for the purpose of
discussing oil deals, all in violation of U.S. sanctions against
Tran and the International Emergency Economic Powers Act.

COUNT ONE

{Conspiracy to Act as an Unregistered Agent of a Foreign
Principal)

The Grand Jury charges:

14. The allegations set forth in paragraphs One through
Thirteen are incorporated by reference as if set forth fully
herein.

Statutory Background: Foreign Agents Registration Act

15. The Foreign Agents Registration Act (“FARA”), 22 —
U.S.C. § 611 et seq., is a registration and disclosure statute
that requires any person acting in the United States as “an
agent of a foreign principal” to register with the Attorney
General if he or she is engaging, directly or through another
person, in certain types of conduct, such as political
activities, political consulting, public relations, or publicity
activities, for or in the interest of the foreign principal.
Such registrations are made to the National Security Division's
Foreign Agents Registration Act Unit (“FARA Unit”) within the

U.S. Department of Justice. It is a crime to knowingly and

 

 
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willfully fail to register, or to make false and misleading
statements or material omissions in documents submitted to the
FARA Unit under the law's provisions.

16. The purpose of FARA is to prevent covert influence by
foreign principais. Proper registration under the statute
allows the United States Government and the American people to
evaluate the statements and activities of individuals who are
serving as agents of foreign principals in light of their status
as foreign agents. Among other things, a FARA registration
reveals the identity of the foreign principal on whose behalf a
registrant performs services, the type of services the
registrant provides the foreign principal, the source and amount
of compensation the registrant receives from the foreign
principal, and any political campaign contributions made by the
registrant while the registrant was acting as an agent of the
foreign principal.

LUFT’s Scheme to Violate FARA

 

17. As described in more detail below, among other things,
GAL LUFT, the defendant, agreed to and did engage in political
activities in the United States on behalf of CHFC, CEFC China,
and CC-1, in an effort to seek to influence United States

foreign policy toward and the public perception of China, and

 

 
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concealed these efforts by creating the false appearance that
they were simply the sharing of sincere opinions of an
independent expert on national security and international
relations.

18. Starting in or about October 2015, GAL LUFT, the
defendant, began sending information to Individual-1 concerning,
among other things, “One Belt, One Road,” later known as the
“Belt and Road Initiative,” a foreign policy initiative of the
Chinese government. LUFT, while in the United States, also
invited Individual-1 to what LUFT described in an email as a
“private meeting” in Washington, D.C., with the then-chairman of
CEKFC China, who LUFT wrote “has very close relations with
President Xi Jinping [i.e., the President of China].”!

19. On or about September 12, 2016, GAL LUFT, the.
defendant, sent CC-1 an email with the subject line, “We nailed
it!” that included a link to an article announcing that
Individual-1 was advising a then-candidate for President of the

United States, who was elected President two months later. cCC-1

 

1 The statements and communications described in this Indictment
are set forth in substance and in part, unless otherwise
indicated. Typographical and other errors in quotations are
reproduced as they appear in the original communications, unless
otherwise indicated.

 

 
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responded by asking if he could attend a dinner that Individual-
1 was hosting in New York, New York, and LUFT confirmed by
informing CC-1 that he had “rsvpd” for Cc-l.

20. Later the same month, on or about September 29, 2016,
using a code name for Individual-1, GAL LUFT, the defendant,
while in the United States, sent CC-i an email advising that he
had successfully recruited Individual-1, for a fee: “All set.
We agreed on 60 for phase I and he [i.e., Individual-1] won’t be
taking a position w others. He is eager to launch the channel.
Pls lock your side and see when they want to bring him in or
meet elsewhere.”

21. The same day, CC-1, who was staying in-New York, New
York, responded, “I can assure you that there is no problem
absolutely from our side. Our side is more than happy to have
someone we know to be the channel with [first letter of then-
presidential candidate’s last name][.] As things develop, the
engagement will evolve into more established and fluent
structure.” GAL LUFT, the defendant, responded that “he [1.e.;
Individual-1] needs to be better educated and versed in our
narrative so the other side doesn’t shape his views.”

22, A few days later, on or about October 3, 2016, CC~-1

informed GAL LUFT, the defendant, via email that the then-

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chairman of CEFC China “agrees with the proposal for”
Individual-1 (referred to by code name), and that the “[p]lan is
for me to deal with [Individual-1] first. After November 8
[i.e., the United States presidential election], if it all pans
out, [Individual~1] will be invited to China undercover.” Ina
later email in the same email chain, CC~1 told LUFT that “the
plan” for Individual-1 was to publish one article per week in
the four weeks before the election as a “dialog with
[Individual-1],” and if Individual-1 could write “some notes” on
certain topics, “we shall build stories around them.”

23. The next day, CC-1 wrote to GAL LUFT, the defendant,
suggesting certain topics “on various Sino-US issues” for the
Individual-1 articles. In response, LUFT stated, “I will
probably have to ghost [write] this for him [i.e., author the
content for publication under Individual-1’s name].” LUFT also
informed CC-1 that LUFT had been told that Individual-1l was
going “to lead the international security/china/iran. policies
for the actual [presidential] transition team!” CC-1 responded:
“Impressed! In these articles, we do not want to spiil all the
beans yet, just enough to let ‘people’ know he [i.e.,

Individual-1] is in the corridor of power to be. Just broad

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stroke policy consideration that leaves plenty of room for
interpretation and imagination to be filled in later.”

24. Several days later, GAL LUFT, the defendant, sent CC-1
a draft of the answers LUFT had written for Individual-l’s side
of the purported “dialogue,” and wrote to CC-1, “note the scoop
in q3 [i.e., question three].” LUFT’s drafted response to
question 3 included a reference to “the emergence of a grand
bargain in which the U.S. accepts China’s political and social
structure and commits not to disrupt it in any way in exchange
for China’s commitment not to challenge the status quo in Asia.”

25. At or about the same time, GAL LUFT, the defendant,
emailed the then-spouse of Individual-1 (“Individual-2"), and
stated, “we can begin to immediately provide you with a monthly
stipend of 6k to help cover for lost revenues.” LUFT further
proposed a series of articles to be published in mainiand China
and Hong Kong newspapers——“one article per week for 4 weeks in a
row up until the [U.S.] elections”--that would be structured as
a purported “dialogue” with Individuai-1 “on aspects of China-US
relationship.” LUFT added, in the same email, that he was “glad
to ghost [write] for [Individuai-l] if needed or he can: send

notes and we can mesh this into the dialogue. The idea is to

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project a sense of hope and optimism for a positive US-China
relations.”

26. On or about October 13, 2016, GAL LUFT, the defendant,
emailed Individual-2 a link to the first of the purported
“dialogue” articles in China Daily, an English-language daily
newspaper distributed worldwide, including in the United States.
China Daily’s New York-based distributor, China Daily
Distribution Corporation, has been recognized by the United
States Department of State as a foreign mission under the
Foreign Missions Act, meaning it is “substantially owned or
effectively controlled” by a foreign government (here, China),
and has registered under FARA for engaging in registerable
activities for a foreign principal (China Daily). The same day,
CC-1 emailed a link to the same article to a number of
individuals, including a professor at a university in New York,
New York, a professor at a university in Washington, DC, and an
official at the United Nations, with the subject line: “A
conversation with [Individuai-1} {Part I}: World Policeman
Fatigue? China Focus.”

27. On or about October 18, 2016, Individual-2 sent GAL
LUFT, the defendant, a one-page “Consulting Services Agreement”

signed by Individual-i, with an unsigned signature line for the

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individual who was LUFT’s Co-Director of the Think Tank, which
stated that Individual-1l would receive “an annual sum of $72,000

, payable in monthly payments of $6,000” in exchange for
Individuai-1’s provision of “advice on energy and giobal
security” and service as “Co-Chairman of the [Energy Group], a
project of [the Think Tank].” No mention was made of CC-I,
CEFC, CEFC China, the publication of articles in China Daily or
other papers, the dissemination of those articles in the United
States, or the public support of certain policies concerning
China,

28. On or about October 25, 2016, CC-1 emailed links to
the second and third articles of the purported “dialogue” in
China Daily to a number of individuals, including the same
professor at the Washington, DC university to whom CC-1 had sent
his October 13, 2016 email, as weil as another professor at the
same university, two officiais at the United Nations, and the
former president of the U.S. arm of a multinational oil company |
who was a member of the Energy Group. The third article
included, word for word, the same statement, regarding the
emergence of a “grand bargain” referenced in paragraph 24 above
that GAL LUFP, the defendant, had written for Individual-1 to

appear to say and to support.

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29, On or about November 9, 2016, CC-1 attached the four
completed articles of the purported “dialogue” in China Daily to
an email sent to a number of individuals, including professors
at the New York, New York university and the Washington, DC
university, officials at the United Nations, a senior associate
at a non-profit policy research organization in Washington, DC,
a vice president at a New York-based investment bank, and an
employee of a U.S.-based Chinese news organization, with the
subject line, “Dialogue between [CC-1] and [Individual-1i], [the
President-elect’s] Advisor on China.” GAL LUFT, the defendant,
while in the United States, forwarded the email and attached
articles to Individual-2. The articles, which were accompanied
with photographs of Individuai-1 and CC-1, each began with an
“editor’s note” that stated: “China Energy Fund Committee (CEHFC)
hosted its 10th Sino-U.S. Colloquium in Washington DC on
September 26, seeking to identify a ‘U.S.-China Policy for the
Next Administration.’ After that, [CC-1], deputy chairman and
secretary general of CEFC, has a conversation with [individual-
1], . . . who is currently serving as a senior adviser to jthe
U.S. political party] presidential nominee . .. , on the
pressing issues of China-US relations. The conversation has been

edited into 4 pieces and will be posted once a week.” The note

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did not disclose, among other things, that (a) the so-called
“conversation” was both pre-written and substantially drafted by
or at the direction of CC-1 and LUFT, not Individual-1;

(b) CEFC, CC-1, and the Think Tank had an ongoing relationship,
including that CC-1 had arranged to pay the Think Tank hundreds
of thousands of dollars per year; or (c) Individual-1l was being
paid by the Think Tank, as agreed upon between CC-1 and LUFT.

30, In response to CC-1’s email containing links to the
four articles, GAL LUFT, the defendant, while in the United
States, emailed CC-1 that “tucked between the lines is a call’
for a ‘grand bargain’ which can set the tone for new power
relations. We should explore this.”

31. On or about November 12, 2016, CC-1 emailed GAL LUFT,
the defendant, that “[e]ver since the publication of the
articles of my ‘dialogue’ with [Individual-1] in Hong Kong and
in the mainland, [he] is now a household name among the USA
watchers in HK and in China. But I should think that he should
hide for now, come to China on a silent crip first, then surface
to speak out on [the President-elect’s] foreign policies just
before his inauguration or thereafter.” LUFT responded that
“[wle are debating about his role in the new’ admin. There are

all kinds of considerations .. . . We should talk ftf [i-.e.,

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face-to-face] as there can be a supremely unique opportunity for
china.”

32. On or about November 13, 2016, GAL LUFT, the
defendant, and CC-1 exchanged emails about the potential role of
Individuai-1 in the new presidential administration. LUFT
reported that “fo]lur friend is now on the shortlist of the
following: Sec Def[,] Sec homeland securityl, and] Dir nat
intel.” CC-1l replied that “[t}his side would like to see him
assuming something with a ‘China’ profile. Of the three, S of D
[i.e., Secretary of Defense] or DNI [i.e., Director of National
Intelligence] would be good, esp the former.” LUFT wrote to CC-
1 that “DNI is most likely,” and CC-1 responded later in the
email chain that “may be you could reserve his ‘direct’ China
link as the weapon of last resort.”

33. On or about October 31, 2016, an invoice “[flor

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professional consulting services per contract,” without
elaboration, was sent on behalf of Individual-1 to the
individual who was Co-Director with GAL LUFT, the defendant, of
the Think Tank for the period October 15 to November 14, 2016,
i.e., the period during which LUFT and CC-1 orchestrated and

disseminated the purported “dialogue” promoting Chinese

interests described above,

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34. On or about November 16, 2016, the Think Tank
transmitted $6,000 to an account of Individual-1 in the United
States, the first of monthly such payments which continued into
in or about October 2017.

35. On of about November 26, 2016, Individual-1 emailed
GAL LUFT, the defendant, a draft email Individual-1 planned to
send to a recently-announced advisor to the then-President-elect
offering Individual-1l’s assistance and describing his experience
in government and cybersecurity; Individual-1 did not mention
China in his draft email. Several hours later, LUFT emailed
back an edited version, writing to Individual-1 that LUFT had
“flagged a few other areas where he [the advisor] might need
help and its good that he knows you have capabilities that might
come handy.” LUFT’s draft included the following new language:
“I would also like to offer my support in dealing with some of
the countries with which I have gathered unique access to top
leadership, especially China {including relations that can also
be handy in addressing North Korea) and Libya which i believe
should be a top priority after years of neglect by the [prior
presidential] administration.” Individual-1 sent LUFT’s version
of the email, including the language quoted above, to the

advisor,

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36. On or about December 1, 2016, CEFC, the Think Tank,
the Development Research Center of the State Council of China,
and another organization held “The Belt & Road Forum” in
Washington, DC, during which both CC-1 and Individual-1l, who was
identified as a senior adviser to the President-elect, spoke.
Individual-1 stated: "We want to joyfully participate with China
in international trade operations and economic growth. I think
we have no reason why China and the US cannot be close and
friendly nations.”

37. In or about 2017, CC-1 and Individual-1 both appeared
together and spoke at additional events, including at an event
in Hong Kong hosted by CEFC in February 2017 and an event in
Washington, DC in June 2017. In reference to the February 2017
event and in response to an email from GAL LUFT, the defendant,
about two Chinese individuals who were interested in meeting
with Individual-1 during his trip, CC-1 emailed LUFT that
Individual-1l and Individual-2 (both referred to by code name in
cC-1's email) “are being brought to HK [i.e., Hong Kong] and Bd
[i.e., Beijing] by us, CEFC and ‘friends.’ They are our guests.
Anybody wishing access to the guests should go through the

host.”

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38. At least in or about April 2017, during the period of
his work for CEFC and CC-1 described above, GAL LUFT, the
defendant, was aware of FARA, and indeed, he told two different
individuals about the U.S. requirement of registering as a
foreign agent in order to undertake certain actions (actions
unrelated to his work related to China). In an April 6, 2017

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email to a foreign government official who had requested “an
official invitation from the U.S.A. government” for another
foreign government official to visit the United States, LUFT
wrote that “I may have to file for foreign agent registration
before I can advocate for such a meeting with the USG.” And in
an April 18, 2017 email to Individual-2, LUFT mentioned a
possible lobbying job for a foreign official or government that
Individual-2 may be able to get, but noted that “this will
entail working outside the Government and under FARA
registration.”

39, In or about November 2017, CEFC invited Individual-l
to speak at the upcoming “Sino-US Colloquium (XII): Toward a
broader US-China agenda” in Washington, DC (the “Colloquium”).
On or about November 2, 2017, CC-1 sent an invitation to

Individual-1 that described the Colloquium as “aim[ing] to

improve the understanding of North American policymakers of

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Sino-US relations and to seek constructive ways for the U.S. and
China to work together to maintain regional stability and
advance economic dynamism in Asia Pacific.” On or about
November 20, 2017, Individual-i spoke at the Colloquium.

40. According to checks of its database by the U.S.
Department of Justice’s FARA Unit in or about November 2022,
none of GAL LUFT, the defendant, CC-1, Individual-1, or
Individual~2 has ever registered under FARA for work related to

Chinese foreign principals.

 

STATUTORY ALLEGATIONS

41. From at least in or about October 2015 through at
least in or about November 2017, in the Southern District of New
York, China, and elsewhere outside of the jurisdiction of any
particular State or district of the United States, GAL LUFT, the
defendant, and others known and unknown, at least one of whom is
expected to be first brought to and arrested in the Southern
District of New York, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to
commit an offense against the United States, to wit, to
knowingly and willfully act as an agent of a foreign principal,

namely, CEFC, CEFC China, and CC-1, without registering with the

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Attorney General, in violation of FARA, 22 U.S.C. §§ 612 and
618.
OVERT ACTS
42, In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt acts, among others,
were committed and caused to be committed in the Southern
District of New York and elsewhere:

a. On or about September 21, 2016, several days
after GAL LUFT, the defendant, sent CC-1l an email with the
subject line, “We nailed it!” that included a link to an article
announcing that Individual-1l was advising a then-candidate for
President of the United States, LUFT and CC-1 attended a party
for Individual-1 in New York, New York, which Individual-2 told
LUFT other advisers to the candidate were also expected to be
present at.

b. On or about September 29, 2016, using a code name
for Individual-1, GAL LUFT, the defendant, sent CC-1 an email
that stated: “All set. We agreed on 60 for phase I and he won’t
be taking a position w others. He is eager to launch the
channel. Pls lock your side and see when they want to bring him

in or meet elsewhere.”

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Cc. On or about November 9, 2016, CC-1 emailed four
completed articles of a purported “dialogue” in China Daily to a
number of individuals, including professors at universities in
New York, New York and Washington, DC, officials at the United
Nations, a senior associate at a non-profit policy research
organization in Washington, DC, a vice president at a New York-
based investment bank, and an employee of a US-based Chinese
news organization, with the subject line, “Dialogue between [CC-—
1] and [Individual-1], [the President-Elect’s] Advisor on
China.”

d. On or about November 2, 2017, CC-1 invited
Individual-1 to speak at the “Sino-US Colloquium (XII): Toward a
broader US-China agenda” in Washington, DC.

(Title 18, United States Code, Sections 371 and 3238.)
COUNT TWO
(Conspiracy to Violate the Arms Export Control Act)
The Grand Jury further charges:
43. The allegations set forth in paragraphs One through
Thirteen and Sixteen through Forty are incorporated by reference

as if set forth fully herein.

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Statutory Background: Arms Export Control Act

44. At all times relevant to this Indictment, the Arms
Export Control Act (“AECA”’) has authorized the President to
control the export of defense articles deemed criticai to the
national security and foreign policy interests of the United
States. Among other things, the AECA authorizes the President
to designate items as “defense articles” by listing them on the
United States Munitions List (“USML”’). In addition, the AECA
imposes a registration requirement on certain individuals,
including U.S. citizens wherever located, who engage in
brokering activities with respect to the manufacture, export,
import, or transfer of any defense articles or services.
Section 2778(c) of the AECA establishes criminal penalties for
any violation of Section 2778 or any rule or regulation
promulgated thereunder.

45. The United States Department of State, Directorate of
Defense Trade Controls (“DDTC”) implemented the statutory
provisions of tne ARCA by adopting the International Traffic in
Arms Regulations (“ITAR”), Title 22, Code of Federal
Regulations, Parts 120 to 130. These regulations, promulgated
pursuant to Title 22, United States Code, Section 2778,

established the USML, define a “defense article” as any item on

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the USML, and require a license from the DDTC for certain
persons engaged in the business of brokering activities of items
listed on the USML.

46. The USML is set forth at Title 22, Code of Federal
Regulations, Part 121.1. Category II of the USML, titled “Guns
and Armament,” includes “{a})(2} Mortars” and “(a) (4) Grenade
launchers.” Category IIT of the USML, titled “Ammunition and
Ordnance,” includes “(a}(9) Ammunition . . . for the guns and
armaments controlled in Category II.” Category IV of the USML,
titled “Launch Vehicles, Guided Missiles, Ballistic Missiles,
Rockets, Torpedoes, Bombs and Mines,” includes “(a) (4) Anti-tank
missiles and rockets” and “(a)(6) Bombs.” Category VIII of the
USML, titled “Aircraft and Related Articles,” includes “(a) (5)
Unmanned aerial vehicles (UAVs) specially designed to
incorporate a defense article.”

LUFT’s Tllicit Arms Trafficking Activity

 

47. As described in greater detail below, GAL LUFT, the
defendant, worked to broker multiple deals to illicitly sell and
deliver defense articles between foreign countries without
having received a license or approval from the DDTC. Among
other things, LUFT worked to broker a deal for Chinese companies

to sell certain weapons to Libya, including anti-tank launchers,

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grenade launchers, and mortar rounds, alli of which are on the
USML. See 22 C.F.R. § 121.1, Category Ii(a), III (a) & IV(a) (4).
LUFT also worked to broker deals for certain weapons to be sold
to the United Arab Emirates, including arial bombs and rockets,
both of which are on the USML. See 22 C.F.R. § 121.1, Category
IV(a). LUFT also worked to broker deals for certain weapons to
be sold by a Chinese company to Kenya, inciuding unmanned aerial
vehicles (“UAVs”)--and specifically “strike” UAVs, which LUFT
acknowledged “[t]he US doesn’t want to sell[, . . .] hence the
opportunity”--which are on the USML. See 22 C.F.R. § 121.1,
Category VIII (a).
Libya

48. At least in or about March and April 2015, GAL LUFT,
the defendant, engaged in communications with CC-1 regarding
LUFT serving as an intermediary for illicit trafficking in arms,
which LUFT and CC-1 generally referred to in code as “toys,”
with respect to Libya as well as Qatar, including while CC-1 was
in New York, New York. Among other things:

a. On or about March 10, 2015, CC-1, who was staying

in New York, New York, emailed LUFT, stating, “through a close
friend of mine in BU [i.e., Beijing], I can get you the toys

needed in Libya, it’s strictly a business deal and someone has

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to foot the bill. Let me know if an order is being placed.”
LUFT replied, “Great. Will meet them in the island and see
what’s its about.”

b, On or about March 18, 2015, LUFT advised CC-1
that LUFT had just returned from the island of Cyprus.

Cc. Also on or about March 18, 2015, CC-1 wrote to
LUFT, “yes, through our channel, we can sell you the toys for
Lybia.” LUFT replied a few minutes later, “good. I will deal
with this next week. when do we meet on other mischiefs?”

d. On or about March 25, 2015, LUFT emailed CC-1, “I
have the list and end user agreement. Pls advise next step.” On
the same day, CC-l replied, stating in pertinent part, “Find a
way to pass them onto me and we can execute that right away,
BTW, who is footing the $.”

e, On or about March 28, 2015, LUFT replied,
“Attached. we have the funding and processing mechanisms in
place. If it works nice there will be much more. Also for 5.
Sudan.” The attachment to LUFT’s March 28, 2015 email to CC-1
was a document dated November 18, 2014, which was headed “End
User Certificate,” had a “Ministry of Defense” logo on the top
with an image similar to the star and crescent of the Libyan

flag, and was saved with the file name “LYO32015.pdf,”

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certifying that the user of the goods in question would be the
Ministry of Defense of the Republic of Libya. The supplier of
the goods was listed as a company with an address in Amman,
Jordan. The items listed on the document included anti-tank
launchers, grenade launchers, and mortar rounds.

f. On or about April 19, 2015, CC-1--who was staying
in New York, New York--sent an emaii to LUFT with the subject
header “Shopping lists.” The body of the email stated: “It so
turns out that Qatar also needs urgently a list of toys from us.
But for the same reason that we had for Libya, we cannot sell
directly to them. Is there a way you could act as an
intermediary in both cases? Could you ask your man to see if he
is willing?”

q. On or about the same day, LUFT replied: “Qatar
good chance bc there is no embargo. Libya is another case bc
going against an embargo is tricky.” Also on or about the same
day, CC-1 responded to LUFT, stating: “Qatar needs the toys
quite urgently. Their chief is coming to China and we hope to
give them a piece of good news. Please confirm soonest.”

h. On or about April 21, 2015, CC-l--who was staying
in New York, New York, and wrote that he had attended a CEFC

event at the United Nations that day--asked LUFT for “a quick

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response from your PM office about being the middle man for
QaTar. We need an answer soon.” LUFT replied that “isi [i.e.,

Israei] is not a good fit. Same problem the [] 0 [i.e.,

QOataris] have w uncle [i.e., the United States]. Need a third
party. Best africa or east europe. I will activate. The
question is: can the Q be on the end user agreement or we need

two separate end users?”

i. On or about April 26, 2015, LUFT wrote to CC-l,
“Looks like we have a middleman for Q. African. I will get
final approval tomorrow. Need the name of the supplier and the
list so we can issue an end user agreement. The shipment can go
direct from China to Q preferably via sea. Pls advise.” CC-1
replied on or about the same day, “Good, let me know if final
approval be given. . . . Oh, one thing, who is paying, I.e.
From whom are we getting payments. What are the commissions and
who gets them? What does the middleman expect?” In a response
the same day, LUFT stated, “the commission is 20pet including
the share of the third party.” CC-1 asked “[w]ho is the
middleman, not L [i.e., Libya] in n. Africa under embargo [I
hope.” LUFT replied, “no. a totally kosher one. they will

tell me £2f [i.e., face to face] shortly.”

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j- On or about April 28, 2015, LUFT emailed CC~-1
with the subject line “QO”: “Its going to be Romania. pls send
me the list for the end user.”

49, GAL LUFT, the defendant, and CC~1 continued to try to
broker illicit arms deals involving Libya into 2016, including
while in New York, New York. Among other things:

a. On or about April 3, 2016, LUFT emailed Ccc~-1
about a meeting to be scheduled with certain Libyans who “[w]ill
also get us to [a particular Libyan individual] (who will
probably be number one or two or minister of defense) as there
will be great need for toys after the sanctions are lifted. TI
will begin to assemble a task force for all of their needs
(toys, energy, infrastructure, banking) so we are ready to roll
when the curtain is raised.” In subseguent emails on the
subject, LUFT told CC-1 that they should “discuss w [CC-2] that
he should talk w [the Chinese Defense Company] to represent them
there [i.e., in Libya] as currentiy they have no rep there.

This way everything goes through us.” As noted above, LUFT had
told cc-? in an April 2015 email that “I really enjoyed meeting
you. I'm sure we can have a lot of fun while making $$.”

b. LUFT traveled to Paris in or about September 2016

to meet with a group of Libyans whom LUFT had described in prior

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emails as “quite high level people coming to see us headed by a
dep PM [i.e., deputy Prime Minister].” Prior to the meeting, on
or about September 5, 2016, CC-1 (copying LUFT) asked CC-2's
assistant to forward an email to CC-2 describing plans for the
meeting with the Libyans and stating that the Libyans “need
infrastructures, banking services, internet and tele-
communication set ups, and ‘toys.’” After the meeting, LUFT
told the Libyan official, “I thought the meeting was excellent.
We will .. . draft the MOU [i.e., Memorandum of Understanding].
We are leaving for US and after that [CC-1] will meet with [the
then-chairman of CEFC China] to discuss next steps.”

c. CC-1 had a second meeting with the Libyans that
LUFT did not attend, and reported to LUFT afterwards that “[t]he
key, I concluded, of his second meeting with me, was that after
he had reported of our first encounter back to L [i.e., Libya],
he was asked to make a clear first request for a ‘test run’,
TOYS! He further suggested that they will be asking the C
[i.e., Chinese] to help them building a ‘simple’ TOY factory in
L in the near future, but he understand that many other steps
will have to be successful before we will ever come to that !”
LUFT responded to CC-1 that “[i]t’s a big project which requires

patience but we are good at that and will sooner or later yield

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fruit. The key is to maintain our exclusivity over the channel
to C.”

d. On or about September 22, 2016-~-a day on which
CC-1 and LUFT were staying in New York, New York--CC-2 emailed
LUFT that he was asking a different Chinese defense company (the
“Chinese Defense Exporter”) to issue CC-2’s Company “a rep
letter for Libya business,” and included a draft letter stating
that the Chinese Defense Exporter, “authorized by the Chinese
government,” was “looking forward to have business and
cooperation with Libya, in trade and project contacting, through
appropriate ways.” LUFT forwarded the email to CC-1 and
responded to CC-2, “May I assume that the commission of [CC-1]
and me will be taken care of by [CC-2’s Company] ?”

e. On or about October 28, 2016, CC-l, who was
staying in New York, New York, emailed LUFT to suggest a
convenient time for a Libyan delegation to visit China. cCc-l
wrote that the “[b]est time is the second half of December.
Perfect working condition in China around Christmas time, no
western interference. Both BU [i.e., Beijing] (Toys) and SH
[i.e., Shanghai] {[first initial of the name of the then-

chairman of CEFC China]).”

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The United Arab Emirates

50. GAL LUFT, the defendant, also worked to broker illicit
deals in arms with respect to other countries, both with Cc-1
and others, including individuals affiliated with CEFC and/or
CEFC China. One such country with respect to which LUFT worked
to broker such deals, between approximately August 2015 and
November 2015 and including while in the United States, was the
United Arab Emirates (“UAE”). Among other things:

a. On or about August 13, 2015, LUFT received an
email from an individual affiliated with the Chinese Defense
Company. The email stated, “Mr. Luft: Good day! Please kindly
find attached quotation and technical specification for your
reference. For the Automatic rifle, we are glad to inform that
2011's stock can be ready for shipment in very short time. But
fur the aerial bombs, I am afraid the prices are very different
from your expectation.” The email attached technical
specifications for “5.56mm Automatic Rifle Type CO,” “250KG Low
Drag Arial HE Bomb Type 3,” and “5SOOKG Arial HE Bomb Type 3” and
a price quotation for these items.

b. On or about the same day, LUFT sent two emaiis to
the Chief Executive Officer (“CC-3%) of a company with an

address in Bulgaria. One email attached the quotation

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referenced above and the other attached technical specifications
for the referenced weapons. Based on a draft Hebrew
translation, one email stated, “Update me that you received and
we will talk. Pickup at Dar a Salam. Thanks. Gal.”

Cc. The next month, on or about September 22, 2015,
LUFT received an email with the subject “Rockets 107 mm” signed
by CC-3. CC-3 wrote: “Dear Gal, Kindly find attached the
inguiry from’ a particular defense company in Montenegro (the
“Montenegrin Defense Company”) “and quote a.s.a.p., incl.
delivery time, time of production, the price of ex-stock and
new.” The email attached a letter (the “Montenegrin Defense
Company Letter”) from the executive director of the Montenegrin
Defense Company, addressed to CC-3, stating “We kindly ask you
to check possibility to deliver up to 40.000 pcs.of rockets 107
ma from the stock or new production.”

d. On or about the same date, LUFT sent an email
addressed to CC-2, whom LUFT referred to by his first name,
stating: “Please see the attached request for 40,000 107mm
rockets. Please advise terms. We need it to go to Dar a Salam by
ship and from there by air to UAE. Would be better to have from

stock but new is also fine. Best Gal.”

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e, Three days later, on or about September 25, 2015,
LUFT sent an email to the same email account and asked, “Can
{the Chinese Defense Company] supply this product?” On or about
the same date, CC-2 responded, “Sorry, [the Chinese Defense
Company] don’t think they can do this deal.”

f. On or about the same day, after CC-2 stated that
the Chinese Defense Company could not do the deal regarding
107mm rockets, LUFT sent an email to an individual with CEFC
China (“cc-4"). The email stated in pertinent part: “Hope your
trip home went well. I have a request for 40,000 107 rockets for
UAE. Might you be able to find me a seller ~- preferably from
stock? This is quite urgent. Thanks Gal.”

g. On or about September 28, 2015, CC-4 responded,
“As you know do you have the document from UAE?” On or about
September 28, 2015, LUFT responded, “Not yet. They want to know
if there is in stock before they hand it.”

ch. On or about October 8, 2015, after the foregoing
exchange regarding 107mm rockets for the UAE, CC-4 sent an email
to LUFT, who was in the United States, stating: “I asked the
related side.there no stocks this tiime.and they already summit
the offer for them.” LUFT responded: “Thank you for the update.

We will try other opportunities.”

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i. On or about November 2, 2015, LUFT sent an email
to CC-4, with the subject “Fwd: Rockets 107 mm,” and attaching
the Montenegrin Defense Company Letter.

J. On or about November 18, 2015, CC-4 replied to
LUFT, who was in the United States: “Mr Gal Luft, as you know
the the capacity to produce the products is limited.so I suggest
that you can order in advance to prepay so you can get a good
price and you can get the products. other thing for the cash
exchange I find away to discuss with you when we meet together.”

Kenya
51. Another country with respect to which GAL LUFT, the
defendant, worked to broker illicit arms deals was Kenya at
least in or about March 2016. Among other things:

a. On or about March 22, 2016, LUFT sent an email to
a particular person who was then a lawful permanent resident of
the United States (“CC-5”%) with the subject line “Kenya,” and
wrote that the Chinese Defense Exporter is “a leading Chinese
exporter of defense and aerospace systems” that “is now
competing over a contract to sell 2-3 drones to Kenya.” LUFT
wrote that “[t]he scope of the initial contract is over $20
million but this is only a reference for potential larger

projects in Kenya and Africa writ large.” LUFT also noted that

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“[the Chinese Defense Exporter]’s sole competitor in this deal
is another Chinese company. [The Chinese Defense Exporter]
doesn’t have high level contacts in Kenya and is looking for
ones. The CEO is willing to travel to Kenya next month to
introduce the products to local officials provided we can find
the right person to plug him in.” LUFT asked CC-5 to “[p]lease
advise,”

b. On or about March 25, 2016, LUFT sent an email to
CC-5: “Please see the attached letter explaining the background
and the request for meeting in April. [The Chinese Defense
Exporter] will provide 10 percent commission to us for all
business conducted in the country. Best Gal.” The attached
letter was a letter to the Ministry of Defense of Kenya from the
Chinese Defense Exporter, which described itself in the letter
as a “state-owned international defense company authorized by
the Chinese government.” The letter referenced previous
discussions between Chinese Defense Exporter officials and
Kenyan Ministry of Defense officials about the “CH-4B UAV
system,” i.e., an unmanned aerial vehicle system, and requested
a meeting to further discuss this and the Chinese Defense

Exporter’s other products.

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a. On or about March 28, 2016, CC-5 received an
email from an individual stating that it was “too late” because
the “MOD [i.e., Ministry of Defense of Kenya]” had already
purchased six units from another source. On or about the same
date, CC-5 forwarded this email to LUFT, who replied, “The six
units are just for surveillance while what [the Chinese Defense
Exporter] is offering are strike UAVs which is a different
project. The US doesn’t want to seli them strike UAV hence the
opportunity.”

52. GAL LUFT, the defendant, continued to work to broker
dllicit arms deals into at least in or about mid-2017. On or
about June 18, 2017, LUFT sent himself an email attaching a “PSO
Equipment List,” which included a description, quantity,
picture, and comments for a variety of military gear, ranging
from clothing and night vision goggles to armored vehicles and
mobile hospital trailers. The “comments” column inciuded notes
about the order being piaced, such as quantity needed of each
size, and answers to questions that it appears the customer had
posed (e.g., for a “British Army Soldier” combat suit, “We need
same pattern as the pictures? Ans = Yes”) or about details of
the order being placed (e.g., for an armored vehicle, “Level of

armoring? Ans = 4 inches”; “Do you want equipment integrated

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(communication, grenade launchers, gunshot detection system,..and
more) in the vehicle? Ans = Yes”).

53. At all relevant times, GAL LUFT, the defendant, did
not register with the State Department as a person engaged in
brokering activities with respect to foreign defense articles or
defense services, nor did he obtain a license from DDTC to
engage in any export, re-export, or brokering activities.

STATUTORY ALLEGATIONS

 

54. From at least in or about March 2015 through at least
in or about mid-2017, in the Southern District of New York,
China, France, Cyprus, and elsewhere outside of the jurisdiction
of any particular State or district of the United States, GAL
LUFT, the defendant, and others known and unknown, at least one
of whom is expected to be first brought to and arrested in the
Southern District of New York, willfully and knowingly did
combine, conspire, confederate, and agree together and with each
other to commit an offense against the United States, to wit, to
violate Title 22, United States Code, Section 2778.

55. It was a part and an object of the conspiracy that GAL
LUFT, the defendant, and others known and unknown, would and did
willfully engage in the business of brokering activities with

respect to the manufacture, export, import, and transfer of an

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article listed on the USML and of a foreign defense article and
defense service of a nature described on the USML, including
anti-tank launchers, grenade launchers, mortar rounds, 5.56mm
automatic rifles, arial bombs, rockets, and “strike” UAVs,
without the required license or written approval of the DDTC, in
violation of Title 22, United States Code, Sections 2778 (b) (2)
and 2778(c), and regulations promulgated thereunder.
OVERT ACTS

56. In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt acts, among others,
were committed and caused to be committed in the Southern
District of New York and elsewhere:

a. On or about March 28, 2015, GAL LUFT, the
defendant, wrote to CC-1 that “we have the funding and
processing mechanisms in place,” and attached an end-user
certificate needed by CC-1 to execute the deal which certified
that the user of the. goods would be the Ministry of Defense of
the Republic of Libya and listed, among other items, anti-tank
launchers, grenade launchers, and mortar rounds.

b, On or about September 25, 2015, LUFT contacted
two individuals to try to obtain a source of 107mm rockets for a

purchaser.

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c. On or about March 28, 2016, after being told that
a potential buyer had already purchased unmanned aerial vehicle
systems from another source, LUFT replied that the articles he
was able to offer through the Chinese Defense Exporter were
“strike UAVs which is a different project. The US doesn’t want
to sell them strike UAV hence the opportunity.”

d. On or about September 22, 2016, while both LUFT
and CC-1 were staying in New York, New York, LUFT received an
email from CC-2 regarding CC-2’s Company obtaining from the
Chinese Defense Exporter “a rep letter for Libya business,”
which LUBT forwarded to CC-1. CC-1 responded on or about the
same day, “Please ask [CC-2] to clarify if we, you and I, are
included in [CC-2's Company],” and on or about the next day,
September 23, 2016, LUFT emailed CC-2, “May I assume that the
commission of [CC-1] and me will be taken care of by [CC-2's
Company ]?”%

(Title 18, United States Code, Sections 371 and 3238.)
COUNT THREE
(Violation of the Arms Export Control Act -- Libya)
The Grand Jury further charges:
57. The allegations set forth in paragraphs One through

Thirteen, Sixteen through Forty, and Forty-Four through Fifty-

4],

 

 
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Three are incorporated by reference as if set forth fully
herein.

58. From at least in or about March 2015, up to and
including at least in or about September 2016, in the Southern
District of New York, China, France, Cyprus, and elsewhere
outside of the jurisdiction of any particular State or district
of the United States and for which one of two or more joint
offenders is expected to be first brought to and arrested in the
Southern District of New York, GAL LUFT, the defendant,
willfully engaged in the business of brokering activities with
respect to the manufacture, export, import, and transfer of an
article listed on the USML and of a foreign defense articie and
defense service of a nature described on the USML, to wit, anti-
tank launchers, grenade launchers, and mortar rounds, without
having first obtained a license or other written authorization
from the DDTC.

(Title 22, United States Code, Sections 2778(b) and (c};

Title 22, Code of Federal Regulations, Sections 129.3, 129.4,

129.8, and 129.10; Title 18, United States Code, Sections 2 and
3238.)

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COUNT FOUR

(Violation of the Arms Export Control Act -- United Arab
Emirates)

The Grand Jury further charges:

59. The allegations set forth in One through Thirteen,
Sixteen through Forty, and Forty-Four through Fifty-Three are
incorporated by reference as if set forth fully herein.

60. From at least in or about August 2015, up to and
including at least in or about November 2015, in the Southern
District of New York, China, and elsewhere outside of the
jurisdiction of any particular State or district of the United
States and for which one of two or more joint offenders is
expected to be first brought to and arrested in the Southern
District of New York, GAL LUFT, the defendant, willfully engaged
in the business of brokering activities with respect to the
manufacture, export, import, and transfer of an article listed
on the USML and of a foreign defense article and defense service
of a nature described on the USML, to wit, 5.56mm automatic
rifles, arial bombs, and rockets, without having first obtained
a license or other written authorization from the DDTC.

{Title 22, United States Code, Sections 2778(b) and (c);

Title 22, Code of Federal Regulations, Sections 129.3, 129.4,

129.8, and 129.10; Title 18, United States Code, Sections 2 and
3238.)

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COUNT FIVE
(Violation of the Arms Export Control Act -- Kenya)

The Grand Jury further charges:

61. The allegations set forth in paragraphs One through
Thirteen, Sixteen through Forty, and Forty-Four through Fifty-
Three are incorporated by reference as if set forth fully
herein.

62. In at least in or about March 2016, in the Southern
District of New York, and elsewhere outside of the jurisdiction
of any particular State or district of the United States and for
which one of two or more joint offenders is expected to be first
brought to and arrested in the Southern District of New York,
GAL LUFT, the defendant, willfully engaged in the business of
brokering activities with respect to the manufacture, export,
import, and transfer of an article listed on the USML and of a
foreign defense article and defense service of a nature
described on the USML, to wit, unmanned aerial vehicles (UAVs)
specially designed to incorporate a defense article, without
having first obtained a license or other written authorization
from the DDTC.

(Title 22, United States Code, Sections 2778(b) and {(c);

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Title 22, Code of Federal Regulations, Sections 129.3, 129.4,
129.8, and 129.10; Title 18, United States Code, Sections 2 and
3238.)

COUNT SIX

(Making False Statements to Federal Agents Regarding Arms
Trafficking)

The Grand Jury further charges:

63. The allegations set forth in paragraphs One through
Thirteen, Sixteen through Forty, and Forty-Four through Fiftty-
Three are incorporated by reference as if set forth fully
herein.

64. On or about March 28, 2019, in the Southern District
of New York, Belgium, and elsewhere outside of the jurisdiction
of any particular State or district of the United States, GAL
LUET, the defendant, who is expected to be first brought to and
arrested in the Southern District of New York, in a matter
within the jurisdiction of the executive branch of the
Government of the United States, knowingly and willfully made a
materially false, fictitious, and fraudulent statement and
representation, to wit, LUFT falsely stated during an interview
at the United States Embassy in Brussels, Belgium with federal
law enforcement officers and prosecutors, in connection with an

investigation being conducted in the Southern District of New

Ad

 

 
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York, that LUFT had not sought to engage in or profit from arms
deals, and instead merely had been asked by an Israeli friend
who dealt in arms to check arms prices so that the friend could
use this information in bidding on deals, a request that LUFT
said he fulfilied by having CC-1 check prices with CC-2 and then
relay this information to LUFT--when in fact LUFT had actively
worked to broker numerous illicit arms deals for profit
involving multiple different countries, both in concert with CC-
1 and directiy himself, including as described in paragraphs
Forty-Four through Fifty-Three above.

(Title 18, United States Code, Sections 1001 and 3238.)

COUNT SEVEN

(Conspiracy to Violate the International Emergency Economic
Powers Act}

The Grand Jury further charges:

65. The allegations set forth in paragraphs One through
Thirteen, Sixteen through Forty, and Forty-Four through Fifty-
Three are incorporated by reference as if set forth fully
herein.

Statutory Background: The Sanctions Regime and the International

 

 

Emergency Economic Powers Act

 

66. The International Emergency Economic Powers Act

(“IEEPA”’), codified at Title 50, United States Code, Sections

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1701 to 1708, confers upon the President authority to deal with
unusual and extraordinary threats to the national security and
foreign policy of the United States. Section 1705 provides, in
part, that “[i]t shall be unlawful for a person to violate,
attempt to violate, conspire to violate, or cause a violation of
any license, order, regulation, or prohibition issued under this
title.” 50 U.S.C. § 1705(a).

67. Beginning with Executive Order No. 12170, issued on
November 14, 1979, the President has found that “the situation
in Iran constitutes an unusual and extraordinary threat to the
national security, foreign policy and economy of the United
States” and declared “a national emergency to deal with that
threat.” Since that time, the President has continuously
extended the national emergency with respect to Iran, which
remains in effect.

68. On March 15 and May 6, 1995, the President issued
Executive Orders Nos. 12957 and 12959, prohibiting, among other
things, “any transaction, including . . . brokering
transactions, by a United States person relating to goods or
services of Tranian origin or owned or controlled by the
Government of Iran,” and on August 19, 1997, issued Executive

Order No. 13059 clarifying the previous orders (collectively,

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the “Executive Orders”). The Executive Orders authorized the
U.S. Secretary of the Treasury to promulgate rules and
regulations necessary to carry out the Executive Orders.
Pursuant to this authority, the Secretary of the Treasury
promulgated the Iranian Transactions Regulations (renamed in
2013 the Iranian Transactions and Sanctions Regulations, or
“TTSR’), implementing the sanctions imposed by the Executive
Orders.

69. Title 31, Code of Federal Regulations, Section 560.206
of the ITSR prohibits, among other things, any transaction or
dealing by a United States person in or related to goods or
services of Iranian origin or owned or controlled by the
Government of Iran, without a license from the U.S. Treasury
Department’s Office of Foreign Assets Control (“OFAC”).

70. The ITSR further prohibit transactions that evade or
avoid, have the purpose of evading or avoiding, cause a
violation of, or attempt to violate the ITSR. See 31 C.F.R.

§ 560.203.

71. The National Tranian Oil Company (“NIOC”’) is the
Iranian government-owned oil and natural gas producer and
distributor under the direction of the Ministry of Petroleum of

Tran. In 2010, OFAC identified NIOC as an entity meeting the

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definition of “Government cof Iran” under the ITSR, see 31 C.F.R.
§ 560.304, and added NIOC to the Specially Designated Nationais
and Blocked Persons List. See 75 Fed. Reg. 34,630 (June 18,
2010). Engaging in transactions with NIOC is therefore
prohibited under the ITSR. 31 C.F.R. § 560.211.

LUFT’s Scheme to Evade Iranian Sanctions

 

72. As described below, GAL LUFT, the defendant, worked to
broker deals involving Iranian 011, which he directed an
associate to refer to as coming from “Brazil” instead of Iran,
in an effort to conceal the activity and evade sanctions.

73. Beginning at least in or about April 2015, GAL LUFT,
the defendant, and multiple individuals from CEFC and/or CEFC
China, including CC-1, exchanged emaiis about an energy security
conference scheduled to occur in June 2015 in Beijing, China,
which was sponsored by the Think Tank, the Energy Group, CEFC,
and a Chinese think tank.

74, On or about May 17, 2015, CC-1 sent an email te GAL
LUFT, the defendant, with the subject “VIPs June in BJ,” i.e.,
in Beijing, which asked LUFT to “go through the list of invited
speakers coming to the BJ meeting in June and pick out a few
VVIPs whom you think [the then-chairman of CEFC China] might be

interested in meeting in person on the sideline. And perhaps

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also those VIPs who might help the CEFC Company [1.e., CEFC
China] with its businesses so that our people in BJ in the trade
can focus on meeting.” The next day, LUFT replied to CC-l,
listing a number of foreign officials with whom the then-
chairman of CEFC China might wish to meet, and then added: “Also
remember the Iranians I told you, which should be done in
privacy.” On or about the same date, CC-1 replied to LUFT, “Can
you send me more info on the Iranians?” In subsequent emails,
LUFT provided additional information to CCl about the “Tranian
team” that was attending the conference and attached a
PowerPoint “Presentation to Potential Partners: Iran Petroleum
Investments” by a particular oil company (the “Oil Company”).
CC-1 (who was staying at a hotel in New York, New York on this
date) forwarded the information and PowerPoint to an assistant
for the purpose of writing a report to the then~chairman of CEFC
China.

75, The following year, on or about February 13, 2016, GAL
LUFT, the defendant, was forwarded an email from an individual
(“Individual-3”) that asked “whether there could be any interest
from our Chinese buyers (CEFC, HUOC etc al)” in “volumes of
Tranian Light Crude” oil, and that included a link to the

website for NIOC. LUFT replied to Individual-3, “Will check.

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The Iranians came to cefc w quite high level - sent even the
niece of the energy min ~ but left bad impression. They don’t
seem to know how to play the game. Were borderline rude. I was
in the room. The price was not great either. Its all about
customer relations.”

76. On or about February 17, 2016, GAL LUFT, the
defendant, informed Individual-3 that “i have positive interest
at $2.50[.] will develop further[.] pis refer to as brazil.”
On the same date, LUFT emailed another individual with the
subject line “Brazil Light direct from NOC,” and quoted
substantially similar terms as the transaction in Iranian oil-—-
not oil from Brazii--that LUFT had discussed with Individual-3.
In other words, LUFT sought to conceal the Iranian source of the
oil by referring to it as “Brazil Light” instead of “Iranian
Light” (as the subject line of Individual-3’s initial email had
referenced) and by describing its source as “NOC” (a national
oil company) rather than NIOC (the National Iranian Oil
Company) .

77. On or about May 15, 2016, Individual-3 sent GAL LUFT,
the defendant, an offer for NIOC crude oil from a petroleum

company addressed to CEFC China. The offer letter listed the

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“origin” of the oil as “Iranian / It can be presented as UAE
origin without Iranian papers.”

78. In or about April and May 2016, GAL LUFT, the
defendant, exchanged a series of emails with a “Principal
Partner and Commercial Director” for the Oil Company
(“Individual-4”) about an upcoming energy security forum in
China. LUFT told Individual-4 that “CEFC want to meet you in BJ
[i.e., Beijing] to discuss you know what. We will set up the
business meetings the day after the forum.”

79, On or about June 22, 2016, GAL LUFT, the defendant,

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sent an email to CC-1, stating that Individual-4, who was *a
good link to Iran deals,” would be attending an upcoming forum
and could be “potentially useful” for CEFC China. The next day,
cc-1 told LUFT that he would help arrange certain meetings “in
BJ” between certain individuals, including a meeting between two
CEFC China officials and Individual-4. CC-1 also told LUFT that
LUFT could start organizing the meetings. CC-1 added, “Please
contact [one of the CEFC China officials] for the Iraq lift.
Other matters ftf [i.e., face-to-face].”

80. Several months later, on or about October 10, 2016,

CC-2 emailed GAL LUFT, the defendant, that CC-2 had a Chinese

client who needed Russian oil, which LUFT confirmed he could

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help provide: “TI just got off the phone with Russia. They have
this.” Forwarding this email exchange to CC-1, LUFT wrote: “If
[CC-2] really has this client we need to grab it. This is
exactly what we need. . . . I can get any source on the pianet.”

STATUTORY ALLEGATIONS

 

81. From at least in or about April 2015, up to and
including at least in or about June 2016, in the Southern
District of New York, China, and elsewhere outside of the
jurisdiction of any particular State or district of the United
States, GAL LUFT, the defendant, and others known and unknown,
at least one of whom is expected to be first brought to and
arrested in the Southern District of New York, knowingly and
wilifully did combine, conspire, confederate, and agree together
and with each other to viclate, and to cause a violation of,
licenses, orders, regulations, and prohibitions in and issued
under the TEEPA, codified at Title 50, United States Code,
Sections 1701-1708.

82. It was a part and an object of the conspiracy that GAL
LUFT, the defendant, and others known and unknown, would and did
engage in and cause others to engage in a transaction and
dealing by a U.S. person in and related to goods and services of

Iranian origin and owned and controlled by the Government of

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Iran, without first obtaining the required approval of OFAC, and
to evade the requirements of U.S. law with respect to
transactions and dealings by a U.S. person in and related to
goods and services of Iranian origin and owned or controlled by
the Government of Iran, in violation of 50 U.S.C. § 1705(c), 31
C.F.LR. $§ 560.203, 560.206, and 560.211, and Executive Orders
12957, 12959, and 13059.

(Titie 50, United States Code, Section 1705; Executive Orders
12957, 12959, and 13059; Title 31, Code of Federal Regulations,
Sections 560.203, 560.206, and 560.211; Title 18, United States

Code, Section 3238.)

COUNT EIGHT

(Making False Statements to Federal Agents Regarding Iranian Oil
Deals)

The Grand Jury further charges:

83. The allegations set forth in paragraphs One through
Thirteen, Sixteen through Forty, Forty-Four through Fifty-Three,
and Sixty-Six through Eighty are incorporated by reference as if
set forth fully herein.

84. On or about March 29, 2019, in the Southern District
of New York, Belgium, and elsewhere outside of the jurisdiction
of any particular State or district of the United States, GAL
LUFT, the defendant, who is expected to be first brought to and

arrested in the Southern District of New York, in a matter

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within the jurisdiction of the executive branch of the
Government of the United States, knowingly and willfully made a
materially false, fictitious, and fraudulent statement and
representation, to wit, LUFT falsely stated during an interview
at the United States Embassy in Brussels, Belgium with federal
law enforcement officers and prosecutors, in connection with an
investigation being conducted in the Southern District of New
York, that LUFT had tried to prevent CEFC China from doing an
oil deal with Iran, that LUFT had been excluded from CEFC China
meetings with Iranians, and that LUFT did not know of any CEFC
China dealings with Iran while he was affiliated with the
company--when in fact, including as described above in
paragraphs Sixty-Six through Eighty, LUFT personally attended at
least one meeting between CEFC China and franians and assisted
in setting up additional such meetings for the purpose of
arranging deals for Iranian oil, and also worked to find a buyer
of Tranian oil while concealing its origin.

{Title 18, United States Code, Sections 1001 and 3238.}

FORFELTTURE ALLEGATIONS

 

85. As a result of committing the offenses alleged in
Counts One, Two, Three, Four, Five, and Seven of this

Indictment, GAL LUFT, the defendant, shali forfeit to the United

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States, pursuant to Title 18, United States Code, Section
981(a) (1) (C) and Title 28, United States Code, Section 2461 (c),
all property, real and personal, that constitutes or is derived
from proceeds traceable to the commission of said offenses,
including but not limited to a sum of money in United States
currency representing the amount of proceeds traceable to the
commission of said offenses.

Substitute Assets Provision

 

86. If any of the above-described forfeitable property, as
a result of any act or omission of GAL LUFT, the defendant:
a. cannet be located upon the exercise of due
diligence;
b, has been transferred or sold to, or

deposited with, a third person;

c. has been placed beyond the jurisdiction of
the Court;

d. has been substantially diminished in value;
or

e. has been commingled with other property

which cannot be subdivided without difficulty; it is the intent
of the United States, pursuant to Title 21, United States Code,

Section 853{p) and Title 28, United States Code, Section

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2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Section 981;
Title 21, United States Code, Section 853;
Title 28, United States Code, Section 2461.)

Meud oy ~~

FOREPERSON © # DAMIAN WILLIAMS
UNITED STATES ATTORNEY

  

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Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
Vv.
GAL LUFT,

Defendant.

 

SEALED INDICTMENT

 

22 Cr.

(18 U.S.C. $8 371, 1001, 3238, and 2;
22 U.S.C. $§ 2778 (b) & (c); 50 U.S.C.
§ 1705; 22 C.F.R. $8§ 129.3, 129.4,
129.8, & 129,10; 31 C.F.R. §§ 560.203,
560,206 & 560.211; Executive Orders
12957, 12959, & 13059.)

DAMTAN WILLIAMS
United States Attorney

Lb: Ui he E $ LS:

Foreperson

 

 

 

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